












Dismissed and Memorandum Opinion filed August 27,
2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00974-CV

&nbsp;

____________

&nbsp;

SUMIT MALHOTRA AND PHILLIP KEVIN HILL, Appellants

&nbsp;

V.

&nbsp;

M-I, L.L.C., Appellee

&nbsp;

&nbsp;



&nbsp;

On Appeal from the
280th District Court

Harris County,
Texas

Trial Court Cause
No. 2008-33429

&nbsp;



&nbsp;

&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed September 26, 2008.&nbsp;
On August 19, 2009, the parties filed an agreed motion to dismiss the appeal in
order to effectuate a compromise and settlement agreement.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is
granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Panel consists of Justices Yates, Frost, and Brown. 





